                                                      Case 2:22-cv-01279-RFB-VCF Document 31 Filed 07/05/23 Page 1 of 4



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                  Reno, Nevada 89501




                                                       Joseph Walsh
                     LAW OFFICES




                                                 14
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                          L.L.P.




                                                                                  UNITED STATES DISTRICT COURT
                                                 15
                                                                                           DISTRICT OF NEVADA
                                                 16

                                                 17    UNITED STATES SECURITIES AND
                                                       EXCHANGE COMMISSION,                               Case No. 2:22-cv-01279-RFB-VCF
                                                 18
                                                                             Plaintiff,                   STIPULATION AND ORDER TO
                                                 19                                                       CONTINUE HEARING ON MOTIONS
                                                       v.                                                 TO DISMISS
                                                 20
                                                       ALPINE SECURITIES CORPORATION,                     (FIRST REQUEST)
                                                 21    CHRISTOPHER DOUBEK, and JOSEPH
                                                       WALSH,
                                                 22
                                                                             Defendants.
                                                 23

                                                 24          Plaintiff United States Securities and Exchange Commission (“Plaintiff” or “SEC”);
                                                 25   Defendants Alpine Securities Corporation and Joseph Walsh (“Alpine Defendants”); and
                                                 26   Defendant Christopher Doubek (“Doubek”) (collectively, the “Parties”), by and through their
                                                 27   respective counsel, submit this Stipulation and Order to continue the hearing on Alpine Defendants’
                                                 28   Motion to Dismiss for Improper Venue or, in the Alternative, Motion to Stay Duplicative
                                                      Case 2:22-cv-01279-RFB-VCF Document 31 Filed 07/05/23 Page 2 of 4



                                                  1   Proceedings [ECF No. 14] (“Motion to Dismiss”) and Doubek’s Motion to Dismiss [ECF No. 17]
                                                  2   currently set for July 6, 2023 at 2:30 p.m.
                                                  3          1.      On October 18, 2022, Alpine Defendants filed their Motion to Dismiss [ECF No.
                                                  4   14].
                                                  5          2.      On October 18, 2022, Doubek filed his Motion to Dismiss [ECF No. 17].
                                                  6          3.      On November 1, 2022, Plaintiff filed its Opposition to Doubek’s Motion to Dismiss
                                                  7   [ECF No. 19] and its Opposition to Alpine Defendants’ Motion to Dismiss [ECF No. 20].
                                                  8          4.      On November 8, 2022, Alpine Defendants filed their Reply in Support of Motion to
                                                  9   Dismiss [ECF No. 21].
                                                 10          5.      On June 20, 2023, the Court entered a Minute Order setting a hearing on the Alpine
                                                 11   Defendants’ and Doubek’s Motions to Dismiss for July 6, 2023, at 2:30 p.m. [ECF No. 28].
                                                 12          The Parties have conferred and have now stipulated and agreed to continue the hearing on
             50 West Liberty Street, Suite 510
Snell & Wilmer




                                                 13   Alpine Defendants’ and Doubek’s Motions to Dismiss, currently set for July 6, 2023 at 2:30 p.m.,
                  Reno, Nevada 89501
                     LAW OFFICES




                                                 14   to July 24, 2023, or as soon thereafter as is convenient for the Court.
                      775-785-5440
                          L.L.P.




                                                 15            IT IS SO STIPULATED.
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                                                  1   Dated: July 5, 2023                               Dated: July 5, 2023
                                                  2   SNELL & WILMER L.L.P.                             Christopher Doubek
                                                  3   By: /s/ Kelly H. Dove                             By: /s/ Christopher Doubek
                                                  4      Janine C. Prupas, No. 9156                        Christopher Doubek
                                                         50 West Liberty Street, Suite 510                 2043 Joy View Lane
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                                                         Attorneys for Defendants Alpine Securities
Snell & Wilmer




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                                                         Corporation and Joseph Walsh
                  Reno, Nevada 89501
                     LAW OFFICES




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                      775-785-5440




                                                      Dated: July 5, 2023
                          L.L.P.




                                                 15
                                                      By: /s/ Ian J. Kellogg
                                                 16      Ian J. Kellogg
                                                         Admitted pursuant to LR IA 11-3
                                                 17      Securities and Exchange Commission
                                                         1961 Stout Street, Suite 1700
                                                 18      Denver, Colorado 80294
                                                 19      Attorneys for Plaintiff
                                                 20
                                                                                                  ORDER
                                                 21

                                                 22          IT IS ORDERED that the hearing on Defendants’ Motions to Dismiss currently set for

                                                 23                                      24 2023. at 2:45 p.m.,
                                                      July 6, 2023, be continued to July __,

                                                 24          IT IS SO ORDERED.
                                                                                                    ________________________________
                                                 25                                                 RICHARD
                                                                                                   UNITED    F. BOULWARE,
                                                                                                          STATES             II
                                                                                                                 DISTRICT JUDGE
                                                 26
                                                                                                    UNITED STATES DISTRICT JUDGE
                                                                                                   DATED:
                                                                                                    DATED this 5th day of July, 2023.
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                                                      Case 2:22-cv-01279-RFB-VCF Document 31 Filed 07/05/23 Page 4 of 4



                                                  1                                      CERTIFICATE OF SERVICE
                                                  2            I, the undersigned, declare under penalty of perjury, that I am over the age of eighteen

                                                  3   (18) years, and I am not a party to, nor interested in, this action. On this date, I caused to be

                                                  4   served a true and correct copy of the foregoing STIPULATION AND ORDER TO

                                                  5   CONTINUE HEARING ON MOTIONS TO DISMISS by the method indicated:

                                                  6   XXXXXXX                 by Court’s CM/ECF Program

                                                  7   __________              by U. S. Mail

                                                  8   __________              by Facsimile Transmission

                                                  9   __________              by Overnight Mail

                                                 10   __________              by Federal Express

                                                 11   __________              by Electronic Service

                                                 12   __________              by Hand Delivery
             50 West Liberty Street, Suite 510
Snell & Wilmer




                                                 13   Dated this 5th day of July, 2023
                  Reno, Nevada 89501
                     LAW OFFICES




                                                 14
                      775-785-5440
                          L.L.P.




                                                 15                                           By:     /s/ Maricris Williams
                                                                                                      An employee of Snell & Wilmer L.L.P.
                                                 16   4869-2040-0750


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